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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

JOHN DOE                                                                   PLAINTIFF

V.                                    CASE NO. 5:23-CV-05084-TLB

KANAKUK HERITAGE, INC.;
KANAKUK MINISTRIES; and
JOE WHITE, individually                                                    DEFENDANTS

                                           COMPLAINT

               COMES NOW the Plaintiff, by and through his undersigned attorney, Joshua D.

Gillispie, and Laffey Bucci & Kent (pro hac vice applications forthcoming), and for his causes of

action against these Defendants, states the following:

                                               PARTIES

        1.     Plaintiff John Doe (hereinafter "Plaintiff'') is an individual citizen and resident

of Springdale, Arkansas, in Benton County. Because Plaintiff was a minor at the time of the

sexual abuse allegations described herein, he is being identified herein by pseudonym. His full

name will be made available to Defendants and can be filed in another pleading or document under

seal with the Court as directed by the Court where necessary. To disclose his name publicly would

potentially subject him to further harm.

        2.     Defendant Kanakuk Heritage, Inc. (hereinafter “Kanakuk Heritage") is a

Missouri corporation and is the surviving corporation and/or owner of all predecessor Kanakuk

entities. At all times relevant to this Complaint, Kanakuk Heritage was not a church or a




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religious organization. Kanakuk Heritage can be served through its registered agent: Joe White,

1353 Lake Shore Drive, Branson, Missouri 65616.

       3.      Defendant Kanakuk Ministries is a Missouri non-profit corporation and is

the surviving corporation and/or owner of all predecessor Kanakuk entities. At all times

relevant to this Complaint, Kanakuk Ministries was not a church or a religious organization.

Kanakuk Ministries can be served through its registered agent: John Jensen, 1353 Lake Shore

Drive, Branson, Missouri 65616.

       4.      Defendant Joe White is an individual resident and citizen of the state of

Missouri. At all times relevant to this Complaint, Joe White served as President of

Defendants Kanakuk Heritage and Kanakuk Ministries. Joe White can be served at 1353 Lake

Shore Drive, Branson, Missouri 65616.

       5.      Kanakuk H eritage, Kanakuk Ministries, and Joe White may be collectively

referred to herein as the Kanakuk Defendants.

                                     JURISDICTION AND VENUE

       6.      This Court has jurisdiction over the causes of action asserted herein and

over the parties to this action pursuant to 28 U.S.C. § 1332(a)(1), as there is diversity of

citizenship and the amount in controversy exceeds $75,000.00.

       7.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to the claim occurred in this judicial district.

                                              FACTS




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       8..      Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       9.       At all times relevant to this Petition, the Kanakuk Defendants owned and

operated residence camps for children known as “Kanakuk Kamps" where children would

come sleep and attend camp activities for periods of time ranging from one to three weeks.

       10.      Kanakuk Kamps include, but are not limited to, K-1, K-2, and K-Kountry.

       11.      In 1995, the Kanakuk Defendants hired and retained Peter Newman

(hereinafter referred to as “Newman") in the position of counselor.

       12.      At all times relevant to this Complaint, N ewman was an employee of

Defendants.

       13.      From 1997 to 2005, William Cunningham (hereinafter "Cunningham")

was Director of K-Kountry. See Ex. A, Affidavit of William Cunningham.

       14.      During the same time period, Cunningham was the direct supervisor of

N ewman.

Id.

       15.      During the time Newman was a Kanakuk employee, he was a serial abuser and

used his position at Kanakuk to sexually abuse numerous children.

       16.      The Kanakuk Defendants structured Kanakuk Kamps so that Kamp staff,

including Newman, would continue Kamp-sponsored and sanctioned communications with

“kampers" after the "kampers" returned home from summer residential camp in Missouri.




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       17.    During Newman's employment, the Kanakuk                  Defendants encouraged,

allowed, and controlled N ewman's “extra kamp ministry,” which consisted of Newman

interacting with children and recruiting them to attend Kanakuk Kamps during sponsored

events, such as small group Bible studies, lunches at children's schools, club activities,

leadership activities, small group activities, para-Kamp activities, and other outdoor

activities, among other things.

       18.    The Kanakuk Defendants encouraged, allowed, and controlled Newman's “extra

kamp" and "para kamp" activities, which consisted of off campus high school activities, off

campus junior high activities, showing up at campers' homes, and off campus outdoor activities.

       19.    In 1999, a camper's parent notified the Kanakuk Defendants that Newman had

participated in activities with several young boys while nude, including swimming in the lake

and four-wheeling. Ex. A.

       20.    At that time, or just after, Cunningham, in his capacity as supervisor and

employee, was told of the complaints against Newman. Id.

       21.    The Kanakuk Defendants told Cunningham that Kanakuk leadership reported

Newman's sexual misconduct to the Taney County District Attorney's office. Id.

       22.    At that time, the Kanakuk Defendants knew, or should have known, that Newman

was committing crimes of sexual misconduct and engaging in illegal behavior with children.

       23.    On July 6, 2001, Cunningham sent Newman a letter warning him to stop sleeping

alone with children.

       24.    In 2003, the Kanakuk Defendants received new reports of Newman engaging in


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sexual misconduct with children, including swimming and playing basketball nude with children

at Defendants' K-2 property. Ex. A.

       25.     That same year, a concerned parent suspected and reported Newman of exhibiting

unusual/sexual behavior toward her son at a father-son retreat after witnessing her son throw

away his jeans after the retreat and proclaim, "I never want to see Pete again."

       26.     Due to the number of complaints regarding Newman's sexual misconduct with

children, Cunningham reprimanded Newman and dismissed him from participating in the 2003

Summer Leadership Weekend. Id.

27.            The Kanakuk Defendants also reached out to the Smalley Center/Institute, a local

provider of therapy, to discuss Newman's sexual misconduct with children and to set up a

potential evaluation of Newman.

       28.     Additionally, Cunningham recommended to the Kanakuk Defendants that

Newman's employment be terminated. Id.

       29.     The Kanakuk Defendants, and specifically Defendant White, were the only ones

with the authority to terminate Newman's position. Id.

       30.     Rather than terminating Newman, however, the Kanakuk Defendants allowed

Newman to serve as Assistant Director at K-Kountry in 2003.

       31.     In 2005, the Kanakuk Defendants promoted Newman to Director of K-Kountry.

       32.     Then in 2006, an alarmed father contacted the Kanakuk Defendants, claiming

Newman kept making late night calls and texts to his son.




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       33.      Also in 2006, Defendant White learned that Newman was "ministering" to

children in his hot tub on a nightly basis. Newman's wife also expressed concerns to Defendant

White about this practice. Defendant White felt this was enough of a problem to issue a

corrective action. The correction, however, was not to prohibit the hot tub encounters, but merely

an encouragement to Newman to reassess the amount of time he was spending with his family.

       34.      That same year, a female camper reported to her mother, after her K-Kountry

term, that she witnessed Newman's inappropriate behavior with a boy camper. The mother

reported this to the Kanakuk Defendants, who said they would investigate the matter. The

Kanakuk Defendants later responded that they had looked into the incident and that the female

camper who reported this incident wasn't athletic nor godly enough to be a fit for Kanakuk, and

she should not return to camp.

       35.      Newman remained in the position of Director of K-Kountry until 2009, when he

confessed to crimes against children. In 2010, Newman received a double life sentence plus

thirty years for sexually abusing Kanakuk attendees; his number of victims is believed to be in

the hundreds.

       36.      On information and belief, it is now known that the Kanakuk Defendants actively

concealed the reports of Newman's sexual misconduct with minor children. This active

concealment occurred prior to Plaintiff’s abuse.

       37.      Plaintiff attended Kanakuk as child where he was introduced to Newman,

groomed by Newman, and ultimately sexually abused by Newman from 2006 to 2009.




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       38.    The Kanakuk Defendants, prior to and during Newman’s abuse of Plaintiff,

actively concealed from Plaintiff its knowledge that Newman was a child molester.

       39.    In 2006, which Plaintiff was 15, Newman sexually molested Plaintiff for the first

time while on a Kanakuk father/son caving trip in Arkansas, in caves near Eureka Springs,

Arkansas. Newman fondled Plaintiff’s genitals and buttocks in the cave. Later that night, back

in Lampe, Missouri, Newman forced Plaintiff to touch his penis and molested Plaintiff further,

including forced mutual masturbation.

       40.    Newman continued to sexually abuse Plaintiff regularly through 2009.

       42.    The Kanakuk Defendants had a duty to supervise Newman during his employment

with Kanakuk.

       43.    At all times relevant to this Complaint, Newman was empowered by Kanakuk

Defendants to work with minors attending the camp. Newman was empowered to interact with,

mentor, supervise, and provide religious education to youths attending the program. Newman

did so during the time and space limitations of his employment and was motivated, at least in

part, to serve Kanakuk Defendants in doing so, including in his mentoring to Plaintiff.

       44.      Newman used his position, and the authority and power vested in him by Kanakuk

Defendants, to groom and sexually abuse Plaintiff and many other youths attending Kanakuk.

       45.      Despite having explicit knowledge of the particular sexual danger Newman posed

to Plaintiff prior to the onset of his abuse, Kanakuk Defendants did nothing to supervise Newman’s

interactions with Plaintiff, nothing to control Newman, and nothing to protect Plaintiff. They

authorized and empowered Newman to perform all duties as a youth pastor and mentor, including


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the authority and power to do the following: to provide pastoring, counseling, guidance, mentoring,

religious instruction, and physical supervision of Plaintiff and other young adolescent boys in the

program; to create and enforce his own rules governing the boys’ participation, activities, and

experience while attending Kanakuk; and to undertake other duties. They knew, that as part of his

duties as Youth Pastor, Newman would be in a position of trust, confidence, and authority over

Plaintiff and other boys in the program.

       46.     Newman befriended Plaintiff; he gained the trust and confidence of Plaintiff by

virtue of the authority vested him by Kanakuk Defendants; and gained the permission and trust of

Plaintiff to spend substantial periods of time alone with Plaintiff by virtue of the authority vested

in him by Kanakuk Defendants. They allowed Newman to do so and willingly vested this authority

in Newman despite having known or having should have known that he was a continuing sexual

danger to boys, and specifically to Plaintiff.

       47.     As a result of the authority Kanakuk Defendants vested in Newman to act as youth

pastor of Kanakuk, Plaintiff was conditioned to trust Newman, to comply with his directions, and

to respect him as a person of authority, including in religious, moral, and ethical matters. They

placed Plaintiff in this situation despite having known or having should have known Newman was

a continuing danger to him and other boys. Using the power, authority and trust of his position at

Kanakuk, and availing himself of Kanakuk’s representations that he was not only safe but a moral

and religious authority figure, Newman induced and directed Plaintiff to engage in various sexual

acts with him while Plaintiff was a minor (“the sexual abuse described herein”).




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                                  STATUTE OF LIMITATIONS

       48.      Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       49.      Plaintiff’s claims are timely under Arkansas' delayed discovery statute, codified at

A.C.A. § 16-56-130, w h i c h applies as follows:

             a. Plaintiff was born in 1990. Plaintiff was abused between 2006 and 2009
                while Plaintiff was approximately 15 to 18 years old. Plaintiff’s claims were
                tolled for minority under A.C.A. § 16-56-116 until Plaintiff reached his 21st
                birthday, in 2011.

             b. A.C.A. § 16-56-130, a special statute of limitations for victims of childhood
                sexual abuse commonly referred to as a “delayed discovery statute,” was
                enacted and became effective August 13, 1993. A.C.A. § 16-56-130
                provides a victim of childhood sexual abuse three years to bring suit from
                when the victim “discovers the effect of the injury or condition attributable
                to the childhood sexual abuse” [emphasis added]. See Doe v. Cabot,
                Arkansas School District, et al., 2022 WL 242849 (E.D. Ark).

             c. Not until at least 2020, and possibly later, did Plaintiff even begin to
                discover the effect of the injuries or conditions attributable to the childhood
                sexual abuse, as described in subsequent paragraphs. Prior to that time,
                Plaintiff did not discover the effect of the injuries or conditions attributable
                to the childhood sexual abuse because, unbeknownst to Plaintiff, the very
                psychological conditions arising from the abuse he suffered prevented that
                discovery. These conditions include, but are not limited to, anxiety
                disorder(s), avoidance, denial, depression, post-traumatic stress disorder,
                self-blame, marital conflict, panic disorder(s), phobias, intimacy struggles,
                low self-esteem, and psychosexual disorder(s). These conditions are
                common consequences of child sexual abuse as recognized by the mental
                health community, and any or all of these conditions commonly prevent
                victims of child sexual abuse from discovering the effect of the injuries or
                conditions attributable to the childhood sexual abuse until well into
                adulthood. One or more of these conditions reasonably prevented Plaintiff
                from discovering the effect of the injuries or conditions attributable to the
                childhood sexual abuse.

             d. It was not until at least 2020, and possibly later, after Plaintiff became a
                father, that he first began to allow himself to reflect on the abuse he suffered
                and its possible consequences.




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             e. Plaintiff has only very recently begun the process of learning about those
                conditions – which may reasonably include, without limitation, anxiety
                disorder(s), avoidance, denial, depression, post-traumatic stress disorder,
                self-blame, marital conflict, panic disorder(s), intimacy struggles, phobias,
                low self-esteem, and psychosexual disorder(s). Prior to very recently,
                Plaintiff did not discover the effect of the injuries or conditions attributable
                to the childhood sexual abuse.

             f. Plaintiff has sued for claims based on childhood sexual abuse less than three
                (3) years after discovering the effect of the injuries or conditions attributable
                to the childhood sexual abuse. Accordingly, Plaintiff’s claims are timely
                under A.C.A. § 16-56-130.

       50.       Additionally, Plaintiff’s claims are timely under the Justice for Vulnerable Victims

of Sexual Abuse Act, codified at Ark. Code Ann. §16-118-118. Pursuant to this newly enacted

law, “a cause of action arising before, on, or after July 28, 2021, that was barred or dismissed due

to a statute of limitation, is revived, and the civil action may be commenced not earlier than six (6)

months after and not later than thirty (30) months after July 28, 2021.”

                                       CAUSES OF ACTION

                          COUNT ONE – NEGLIGENT SUPERVISON

       51.       Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       52.       Kanakuk Defendants wer negligent in supervising Newman. Kanakuk Defendants’

negligence was a proximate cause of Plaintiff’s damages described in this Complaint. They knew

or in the exercise of reasonable care should have known that Newman, during his tenure at

Kanakuk, subjected Plaintiff and other boys attending Kanakuk to an unreasonable risk of harm.

       53.       Negligent supervision and retention cases hinge on the element of foreseeability of

the employee’s actions. There is always a duty of reasonable care in the supervision of employees.

However, when there is foreseeability, employers have a duty to control an employee for the

protection of third parties even where the employee is acting outside the scope of employment.



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Regions Bank & Trust v. Stone County Skilled Nursing Facility, Inc. 345 Ark. 555, 568, 49 S.W.3d

107, 115 (2001). Newman’s sexual abuse of Plaintiff was foreseeable to Kanakuk Defendants.

       54.     In fact, it is “not necessary that the employer foresee the particular injury that

occurred, but only that the employer reasonably foresee an appreciable risk of harm to others.”

Saine v. Comcast Cable Vision of Arkansas, Inc., 354 Ark. 492, 126 S.W.3d 339 (2003). However,

in this case, the particular injury suffered by Plaintiff was specifically foreseeable to Kanakuk

Defendants.

       55.     Kanakuk Defendants’ negligent supervision of Newman was a proximate cause of

Plaintiff’s injuries because his injuries were the natural and probable consequence of their

negligence and ought to have been foreseen in light of attending circumstances existing at the time.

See Regions Bank & Trust v. Stone County Skilled Nursing Facility, Inc. 345 Ark. 555, 568, 49

S.W.3d 107, 115 (2001).

       56.     Here, Kanakuk Defendants knew, or in the exercise of reasonable care should have

known, that Newman presented a risk of danger to Plaintiff and other boys. See Regions Bank &

Trust, 345 Ark. At 568, 49 S.W.3d at 113. See also Saine, 354 Ark. At 497, 126 S.W.3d at

342. Despite this, Kanakuk did nothing to control Newman or to protect Plaintiff. To the contrary,

Kanakuk Defendants, upon information and belief, allowed Newman to set his own policies and

institute his own rules for how he interacted with the children attending the program. For all of

the reasons described herein, Kanakuk Defendants breached its duty to Plaintiff.

       57.     For the reasons described herein, Kanakuk Defendants knew, or in the exercise of

reasonable care should have known, that Newman not only presented a risk of danger to Plaintiff

but also the exact nature of the particular risk he presented. See Ex. A.




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       58.      Kanakuk Defendants began receiving complaints of sexual misconduct by Newman

with minor attendees as early as 1999. By the time Newman first molested Plaintiff, which

occurred on a Kanakuk-sponsored caving trip in Arkansas in 2006, Kanakuk Defendants had

received numerous complaints of sexual misconduct by Newman with youths in the program and

Kanakuk Defendants were fully aware that Newman was a danger sexually to boys.

       59.      Kanakuk Defendants knew without question that Newman was a serial child

molester by the time Newman first molested Plaintiff in 2006 while on a caving trip in Arkansas.

       60.      Despite this knowledge, Kanakuk Defendants took no action to protect Plaintiff and

other children attending the program. They took no action to restrict Newman’s access to his

victims. They chose to do nothing. Their inaction is directly responsible for Plaintiff’s injuries.

They knew or should have known that such inaction would result in the harm suffered by Plaintiff,

which it did.

       61.      Kanakuk Defendants, as described herein, concealed from minor attendees and

their parents their knowledge that Newman was a sexual predator who was using the position of

trust they put him in to sexually abuse boys. They misrepresented to parents that their children

were safe around Newman when, in fact, young males were at an unreasonably heightened risk of

sexual abuse by Newman, a risk of which Kanakuk Defendants were aware, but attendees and

parents were not.

       62.      Kanakuk Defendants systematically ignored these notices of Newman’s danger to

children prior to and during his sexual abuse of Plaintiff. They chose not to investigate the

numerous allegations, discipline Newman, restrict Newman’s duties, increase monitoring or

supervision of Newman, report Newman to law enforcement, terminate Newman, or otherwise




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take reasonable steps to intervene and protect Newman and other children from the danger posed

by Newman.

       63.      Given the multiple, specific reports made directly to Kanakuk Defendants, and

other information readily available to it, they knew or should have known about Newman’s

repeated inappropriate behavior and the danger of sexual abuse he posed towards children in the

program. However, despite this knowledge, they continuously and systematically ignored such

reports and notices. They minimized and downplayed the harm of sexual abuse to young teenage

boys; failed to reach out to provide support and assistance to boys it knew were likely being

sexually abused by Newman, including Plaintiff; and repeatedly downplayed its historical

knowledge of the nature and extent of harm it knowingly allowed Newman to cause.

       64.      For all of the reasons described herein, Kanakuk Defendants breached their duty to

Plaintiff. As a direct result of their negligent supervision of Newman, Plaintiff has suffered injuries

and damages in excess of the amount required for federal diversity jurisdiction.

                          COUNT TWO: NEGLIGENT RETENTION

       65.      Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       66.      Kanakuk Defendants were negligent in their retention of Newman as their agent.

Their negligence was a proximate cause of Plaintiff’s damages described in this Complaint.

They knew, or in the exercise of reasonable care should have known, that Newman, during his

tenure as youth pastor and agent of Defendants, subjected Plaintiff and other young adolescent

boys attending the program, to an unreasonable risk of harm.

       67.      For the reasons described throughout this Complaint, Kanakuk Defendants’

decision to retain Newman for as long as they did, despite their knowledge of the danger he posed




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to children and to Plaintiff particularly, was negligent and a proximate cause of Plaintiff’s

damages.

                               COUNT THREE: NEGLIGENCE

        68.     Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

        69.     Kanakuk Defendants owed a duty of care to Plaintiff, as described herein.

        70.     This duty included a duty to supervise Plaintiff.

        71.     At all relevant times hereto, Kanakuk and its agents were required to consider

Plaintiff’s capacity to care for himself to protect him from foreseeable dangers created by his

condition as minor.

        72.     At all relevant times hereto, Kanakuk Defendants owed a duty of ordinary care to

the children in program, including Plaintiff.

        73.     At all relevant times hereto, it was within the scope of Kanakuk Defendants’

professional services to provide a safe environment for the youths attending its programs.

        74.     At all relevant times hereto, Kanakuk Defendants had a duty to protect the children

in its program against foreseeable harm.

        75.     At all relevant times hereto, Kanakuk Defendants and their agents had a duty to

furnish the care and attention reasonably required by the children attending its program.

        76.     Kanakuk Defendants breached their duties to Plaintiff.

        77.     Kanakuk Defendants’ breach of its duties was a proximate cause of Plaintiff's

injuries.




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          78.   The harm suffered by Plaintiff was foreseeable to Kanakuk Defendants, and they

knew or should have known that Newman presented an unreasonable risk of harm to Plaintiff and

other minors.

          79.   At all relevant times hereto, Kanakuk Defendants, as well as its pastors and agents,

had statutory and common law duties to monitor the welfare of the children in its ministry program

and to report any suspected abuse or neglect of such children to authorities.

          80.   At all relevant times hereto, Kanakuk Defendants’ pastors and agents were

mandated reporters.

          81.   At all relevant times hereto, Kanakuk Defendants’ administrators and directors

were mandated reporters.

          82.   Kanakuk and its agents failed to report reasonable suspicions of child maltreatment.

          83.   Kanakuk Defendants failed to establish clear boundaries and codes of conduct to

be observed by pastors and other staff when interacting with minors.

          84.   Kanakuk Defendants failed to put in place policies and protocols to keep children

in the program safe from sexual predation.

          85.   Kanakuk Defendants failed to warn attendees and their children of the known

danger.

          86.   In addition to knowingly exposing children to a child sexual predator, Kanakuk

Defendants failed to inform, educate, or train its staff in how to identify, prevent or respond to

incidents of child sexual abuse; warn boys in their programs (or their parents) about this known

danger; implement reasonable and feasible child abuse prevention policies; alert authorities to the

nature and scope of this known danger, as required by law; investigate any reports of Newman’s

misconduct; supervise the children participating in the program; or fire, discipline, or remove




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Newman or otherwise prevent him from accessing Plaintiff. As a result, Newman sexually abused

Plaintiff and many other children.

       87.       For all of the reasons described herein, Kanakuk Defendants breached their duty to

Plaintiff. As a direct result of their negligence, Plaintiff has suffered injuries and damages in

excess of the amount required for federal diversity jurisdiction.

                COUNT FOUR: SEXUAL BATTERY (VICARIOUS LIABILITY)

       88.       Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       89.       Newman wrongfully, intentionally, and by force made harmful physical sexual

contact with Plaintiff, a minor child, without legal consent.

       90.       Newman was acting within the scope of his employment and authority, and for the

benefit of Kanakuk Defendants, and wielding the power they bestowed on him when he sexually

abused Plaintiff.

       91.       In the first alternative, acts within the course and scope of Newman’s employment

led to or resulted in the sexual abuse.

       92.       In the second alternative, Newman’s sexual abuse of Plaintiff was aided by his

agency for Kanakuk Defendants.

       93.       In the third alternative, Kanakuk Defendants ratified Newman’s sexually abusive

conduct towards Plaintiff and other children when it chose to retain him.

       94.       In the fourth alternative, Newman’s tortious conduct, ostensibly, was committed in

furtherance of Kanakuk Defendants’ goals.

       95.       The battery was a proximate cause of Plaintiff’s injuries.




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       96.      As a direct result of the battery, Plaintiff has suffered injuries and damages in excess

of the amount required for federal diversity jurisdiction.

                             COUNT FIVE: TORT OF OUTRAGE

       97.      Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       98.      Kanakuk Defendants willfully and wantonly engaged in extreme and outrageous

conduct.

       99.      Kanakuk Defendants’ conduct, as described herein, proximately caused the injuries

to Plaintiff described herein.

       100.     Kanakuk Defendants betrayed the trust of Plaintiff and the community in the most

egregious manner, given the amount of evidence of danger posed by Newman that it systematically

ignored for an unreasonably long period of time prior to the onset of Plaintiff’s abuse in 2006.

Their conduct was extreme, outrageous, and utterly intolerable in a civilized community. Their

conduct went beyond all possible bounds of decency.

      COUNT SIX: VICARIOUS LIABILITY FOR NEGLIGENT OR OTHERWISE
      TORTIOUS ACTS AND OMISSIONS OF ALL AGENTS AND EMPLOYEES

       101.     Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       102.     Kanakuk Defendants are vicariously liable for all acts and omissions of its agents

and employees, including those as of yet unknown agents and employees, as described throughout

this Complaint.

       103.     As described herein, their agents, employees, and representatives were all acting

within the scope of their authority and employment when these breaches of duty occurred.

                                             DAMAGES



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       104.     Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       105.     As a direct result of Kanakuk Defendants’ conduct described herein, Plaintiff has

suffered childhood sexual abuse and resulting injuries, conditions, and damages as follows:

       a.       Plaintiff has suffered and will continue to suffer great pain of mind and body;

       b.       Severe and permanent emotional distress and mental anguish;

       c.       Physical manifestations of emotional distress;

       d.       Embarrassment;

       e.       Loss of self-esteem;

       f.       Humiliation;

       g.       Shame; and

       h.       Psychological injuries, including anxiety disorder(s), avoidance, denial,

depression, post-traumatic stress disorder, self-blame, marital conflict, panic disorder(s), intimacy

struggles, phobias, low self-esteem, and psychosexual disorder(s).

       106.     Plaintiff was prevented and will continue to be prevented from performing his

normal daily activities and obtaining the full enjoyment of life; he will incur expenses for medical

and psychological treatment, therapy, and counseling.

                                   AMOUNT OF DAMAGES

       107.     Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       108.     Plaintiff’s injuries and damages are in excess of the minimum amount required for

federal court jurisdiction in diversity of citizenship cases, for which Plaintiff should be awarded a




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judgment as against Defendants in an amount to fully and fairly compensate him for each and

every element of damages that has been suffered.

                                    PUNITIVE DAMAGES

       109.     Plaintiff hereby incorporates by reference all previous paragraphs as if fully set

forth herein.

       110.     Kanakuk Defendants knew that Newman presented an unreasonably high risk of

sexual abuse to children. As described with particularity herein, Kanakuk Defendants and their

agents knew without a doubt that Newman posed a sexual danger to children in the program, and

they knew this for an unreasonably long period of time prior to the beginning of Plaintiff’s abuse.

They knew that their systematic refusal to take steps to protect children receiving ministerial and

other services by Newman would almost certainly result in the sexual abuse of minors such as

Plaintiff. Therefore, their conduct can only be described as willful and wanton, and in reckless

disregard of the consequences. They displayed a conscious indifference to the rights, safety, and

welfare of Plaintiff, and of every other child who attended the program during the time of

Newman’s agency.

       111.     Kanakuk Defendants betrayed the trust of Plaintiff and the community in the most

egregious manner, given the amount of evidence of the danger posed by Newman that it

systematically ignored for an unreasonably long period of time. Their conduct was extreme,

outrageous, and utterly intolerable in a civilized community. Their conduct went beyond all

possible bounds of decency.

       112. Defendants had every reason to believe Newman would sexually abuse Plaintiff, and

they quite simply chose to let it happen rather than expose the business to bad publicity that might

come with reporting Newman to law enforcement.




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        113.    Plaintiff is seeking punitive damages to punish Kanakuk Defendants, and to deter

them and others from engaging in this conduct.

                                           JURY DEMAND

        114.    Plaintiff respectfully demands a trial by jury.

                          RESERVATION OF ADDITIONAL CLAIMS

        115.    Plaintiff reserves the right to plead further upon completion of discovery to state

additional claims and to name additional parties to this action.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, by and through his undersigned attorney, Joshua D. Gillispie of

Green & Gillispie, and Laffey Bucci & Kent (pro hac vice applications forthcoming), requests

recovery for all damages previously pled herein, and for compensatory damages for the reasons

previously pled and in an amount previously prayed for and/or allowed by common law or by

statute, in an amount left to the sound discretion of the jury, but in an amount necessary to satisfy

the jurisdictional limits of this Court or any other Court, unless said damages are set, in whole or

in part, by statute, for punitive damages, for his attorneys’ fees and all costs herein expended, and

for all other relief to which Plaintiff is justifiably entitled.


                                                  Respectfully submitted,

                                                  /s/ Joshua Gillispie
                                                  Joshua D. Gillispie, Bar No. 2010131
                                                  Green & Gillispie
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